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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
Minutes of Proceedings

OFFICE: CAMDEN DATE: November 13, 2019
JUDGE KAREN M,. WILLIAMS ,

COURT REPORTER: Electronic Court Recorder

TITLE OF CASE; DOCKET NG.: 19-MJ-5644-KMW
UNITED STATES OF AMERICA

VS.

RICHARD TOBIN

DEFENDANT PRESENT

APPEARANCES:

KRISTEN M. HARBERG, ESQ, —- AUSA FOR GOVERNMENT
LISA EVANS LEWIS, ESQ. — AFPD FOR DEFENDANT

OTHER:
ADRIENNE SMITH- U.S. PRETRIAL OFFICER
NATURE OF PROCEEDINGS: Initia! Appearance on Complaint

Defendant advised of rights, charges and penalties.

Hearing on application by defendant for appointment of counsel.
Financial Affidavit executed and filed, Ordered application granted.
Ordered Lisa Evans Lewis, AFPD appointed for defendant.

Defendant waives formal reading of the Complaint.

Defendant waives preliminary hearing. Waiver executed.

Hearing on application by Government for detention.

Hearing on Defendant's application for Continuance to address bail.
Ordered Continuance granted, Bail Hearing set for {,j , 2019,
Order of Continuance entered excluding time under the Speedy Trial Act from November 13, 2019
through January 13, 2020.

Ordered defendant remanded to the custody of the U.S, Marshal.
Orders to be entered.

5/ Nicole Ranios
DEPUTY CLERK

TIME COMMENCED: TIME ADJOURNED: ; TOTAL TIME: 11 Minutes

 
